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           IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION


ANDREW H. WARREN,

                       Plaintiff,                    Civil Action No.
v.
RON DESANTIS, individually and in his official
capacity as Governor of the State of Florida,

               Defendant.
________________________________________

               DECLARATION OF ANDREW WARREN
      I, Andrew Warren, respectfully submit this declaration in regard to the above-
captioned matter. I make this declaration based on my personal knowledge of the
facts stated herein.
      1.     I was elected as the State Attorney for Florida’s 13th Judicial Circuit in
2016 and re-elected in 2020.

      2.     I have served as State Attorney for Florida’s 13th Judicial Circuit since
January 3, 2017.
      3.     While I have served as State Attorney for Florida’s 13th Judicial
Circuit, I have always exercised my prosecutorial discretion on a case-by-case basis,
considering the individualized circumstances of each case.
      4.     While I have served as State Attorney for Florida’s 13th Judicial

Circuit, I have always instructed the assistant state attorneys (“ASAs”) who work at
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the Office of the State Attorney for the 13th Judicial Circuit (the “Office”) to
exercise their prosecutorial discretion on a case-by-case basis.

      5.     For example, consistent with guidance given to ASAs throughout my
tenure as State Attorney for the 13th Judicial Circuit, in December 2021, I released
a memorandum to all ASAs in the Office regarding “Prosecutorial Discretion and
the Mission of Criminal Justice,” which stated, among other things: “In every case,
ASAs must exercise discretion based on the facts of that case—the nature and
circumstances of the offense, the defendant’s criminal history (or lack thereof),

victim input, and other factors. ASAs must exercise that discretion at every stage
. . . .” A true and correct copy of the contents of this December 14, 2021
memorandum is attached to the Complaint in this matter as Exhibit 2.
      6.     While serving as State Attorney for Florida’s 13th Judicial Circuit, I
approved a “Presumption of Non-Prosecution” policy in March 2021, which guides
ASAs in exercising discretion in cases involving certain traffic-related and other
offenses. A true and correct copy of this March 9, 2021 P resumption of Non-
Prosecution policy is attached to the Complaint in this matter as Exhibit 3.
      7.     While serving as State Attorney for Florida’s 13th Judicial Circuit, I
instituted a “Policy Regarding Prosecution of Cases Based on Pedestrian and Bicycle
Violations,” which guides ASAs in exercising discretion in cases arising out of law-
enforcement stops initiated exclusively for non-criminal bicycle or pedestrian
violations. A true and correct copy of this Policy Regarding Prosecution of Cases
Based on P edestrian and Bicycle Violations is attached to the Complaint in this
matter as Exhibit 4.


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      8.     In instituting the Presumption of Non-Prosecution policy and the Policy
Regarding P rosecution of Cases Based on P edestrian and Bicycle Violations, the

Office consulted and collaborated with law enforcement and other community
representatives.
      9.     Neither the P resumption of Non-P rosecution policy nor the P olicy
Regarding P rosecution of Cases Based on P edestrian and Bicycle Violations
establishes an absolute rule regarding the exercise of discretion in any particular
case. At most, these policies establish presumptions, which can be overcome in

appropriate cases.
      10.    In all cases covered by the Presumption of Non-Prosecution policy and
the P olicy Regarding P rosecution of Cases Based on P edestrian and Bicycle
Violations, ASAs are required to exercise their judgment and discretion with respect
to the individual case before them.
      11.    I allowed my name to be affixed to a June 2021 Joint Statement with
other prosecutors and law enforcement leaders. See Fair and Just Prosecution, Joint
Statement from Elected Prosecutors and Law Enforcement Leaders Condemning the
Criminalization of Transgender People and Gender-Affirming Healthcare (June
2021).
      12.    I allowed my name to be affixed to a June 2022 Joint Statement with
other elected prosecutors. See Fair and Just P rosecution, Joint Statement from
Elected Prosecutors (June 2022) (updated July 25, 2022).
      13.    In joining the June 2021 and June 2022 Joint Statements, I expressed
certain public policy positions and beliefs on current hot-button issues.


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       14.   By joining the June 2021 and June 2022 Joint Statements, I did not
announce any policy for the Office.

       15.   By joining the June 2021 and June 2022 Joint Statements, I did not
categorically refuse to prosecute any particular kind of case or any particular Florida
law.
       16.   I have not categorically refused to prosecute any particular kind of case
or enforce any particular Florida criminal law.
       17.   At no time while serving as State Attorney for Florida’s 13th Judicial

Circuit have I instituted any policy that applied specifically to cases involving
abortion.
       18.   At no time while serving as State Attorney for Florida’s 13th Judicial
Circuit have I instituted any policy that applied specifically to cases involving
gender-affirming healthcare or the rights of transgender people.
       19.   At no time while I have served as State Attorney for Florida’s 13th
Judicial Circuit has the Office, to my knowledge, been referred a criminal case
arising from an abortion in violation of Fla. Stat. §§ 782.34, 775.082(3), 775.083(1),
390.0111, 390.01112, or House Bill 5.
       20.   At no time while I have served as State Attorney for Florida’s 13th
Judicial Circuit has the Office, to my knowledge, been referred a criminal case
arising from gender-affirming healthcare.




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           I declare under the penalty of perjury that the foregoing is true and correct to

the best of my knowledge and recollection.

           EXECUTED this It--,.. day of August, 2022.



                                               Gci~
                                            Andrew Warren

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